                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Anna M. Yocum
                                Debtor(s)                                       CHAPTER 13

M&T BANK
                                Movant
               vs.
                                                                             NO. 22-00657 HWV
Anna M. Yocum
                                Debtor(s)

Jack N. Zaharopoulos
                                Trustee                                11 U.S.C. Section 362 and 1301

                                                    ORDER

         Upon consideration of Movant’s Motion for Relief from the Automatic Stay, it is:

         ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is granted and

 the Automatic Stay of all proceeding, as provided under Section 362 of the Bankruptcy Abuse Prevention and

 Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362, is modified with respect to the subject

 premises located at 437 Linton Hill Road, Duncannon, PA 17020 (“Property), so as to allow Movant, its

 successors or assignees, to proceed with its rights and remedies under the terms of the subject Mortgage and

 pursue its in rem State Court remedies including, but not limited to, taking the Property to Sheriff’s Sale, in

 addition to potentially pursuing other loss mitigation alternatives including, but not limited to, a loan

 modification, short sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the Property at Sheriff's

 Sale (or purchaser's assignee) may take any legal action for enforcement of its right to possession of the

 Property.




                                                           By the Court,



                                                           ____________________________________
                                                           Henry W. Van Eck, Chief Bankruptcy Judge
                                                           Dated: February 23, 2023



Case 1:22-bk-00657-HWV             Doc 31 Filed 02/23/23 Entered 02/23/23 10:53:46                     Desc
                                   Main Document    Page 1 of 1
